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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA                      *
                                                  *
         v.                                       *
                                                  *         CRIMINAL NO. PX-23-323
                                                  *
    MICHAEL VERZALENO, JR, et al.,                *
                                                  *
                   Defendants.                    *
                                                  *

                         MOTION TO EXCLUDE TIME PURSUANT
                             TO THE SPEEDY TRIAL ACT

        The United States of America, by its undersigned counsel, hereby submits this Motion to

Exclude Time Pursuant to the Speedy Trial Act. 1 In support of the motion, the government states

as follows:

        1.      On September 14, 2023, a federal grand jury for the District of Maryland returned

an Indictment against Defendants Michael Verzaleno, Jr., Michael Verzaleno, Sr., and Susan P.

Carrano, alleging among other crimes, wire and mail fraud conspiracy, mail fraud, and false

statement offenses, in violation of 18 U.S.C. §§ 1349, 1343, 1341, 1001.

        2.      On or about September 19, 2023, the defendants had their initial appearances in the

District of New Jersey. Conditions of release were entered by the Court.

        3.      On October 26, 2023, the parties participated in a conference call with District

Judge Deborah K. Chasanow regarding scheduling. During the conference call, counsel for the

defendants requested additional time to review the discovery and to prepare for trial. The parties

thereafter agreed upon a motions deadline and a trial date of May 13, 2024. ECF 39. The trial

date was subsequently reset for June 3, 2024, due to a scheduling conflict. ECF 42.



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 On October 3, 2024, government counsel contacted Lee Vartan, Esq., by email to see if defense counsel
would join in the Motion. No response was received.
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        4.      On November 27, 2023, the Court granted the parties’ joint motion to exclude time

under the Speedy Trial Act from October 26, 2023, to June 3, 2024. ECF 44 & 45.

        5.      On January 10, 2024, the Court granted the parties’ consent motion to extend the

motions deadline until February 29, 2024, and then again until March 29, 2024. ECF 53, 54, 57

& 60.

        6.      On March 15, 2024, the Court held a conference call with counsel where defense

counsel requested additional time to review discovery and file motions. As a result, the motions

hearing was rescheduled for June 3, 2024, and the trial date was rescheduled to September 9, 2024,

in Baltimore. ECF 62.

        7.      On June 3, 2024, the Court held a pretrial motions hearing and issued an order

scheduling a hearing on motions in limine for September 4, 2024. ECF 83 & 86.

        8.      On September 4, 2024, the Court held a hearing on motions in limine and a pretrial

conference. ECF 116 & 117.

        9.      On September 5, 2024, defense counsel sent a letter to the Court requesting

continuance of the trial for at least 30 days, as the Court’s calendar permitted. ECF 120. The

government did not object.

        10.     On September 6, 2024, following a conference call with the parties, the Court

removed the trial date of September 9, 2024 from the Court’s calendar and issued a new scheduling

order setting the trial in Greenbelt before a different judge on December 2, 2024. ECF 122. The

Court also set deadlines for any additional disclosures by the government and reciprocal Rule 16

disclosure by the defense.

        11.     On September 23, 2024, defense counsel provided the government with its first

reciprocal Rule 16 disclosure, reserving the right to amend and supplement it with additional

disclosures later.
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       12.       On September 26, 2024, District Judge Paula Xinis held a conference call with all

parties to confirm that the trial would start on December 2, 2024. ECF 130. The Court also issued

a schedule for supplemental motions in limine. ECF 131.

       13.       Title 18 U.S.C. ' 3161(h)(7)(A) specifically excludes from the speedy trial time

requirements “[a]ny period of delay resulting from a continuance granted by any judge on his own

motion or at the request of the defendant or his counsel or at the request of the attorney or the

Government, if the judge granted such continuance on the basis of his findings that the ends of

justice served by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.”

       14.       Factors which the Court must consider in determining whether to grant a

continuance and exclude time under § 3161(h)(7)(A) include “[w]hether the failure to grant such

a continuance in the proceeding would be likely to make a continuation of such proceeding

impossible, or result in a miscarriage of justice”; and [w]hether the failure to grant such a

continuance . . . would deny counsel for the defendant or the attorney for the Government the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” 18 U.S.C. ' 3161(h)(7)(B)(i) & (iv).

       15.       In light of the aforementioned facts, the government respectfully submits that both

of the foregoing factors apply here and justify the Court’s finding that the interests of justice

served by excluding the time from June 3, 2024 until December 2, 2024 under the Speedy Trial

Act outweighs the defendants’ and the public’s interests in a speedy trial. See 18 U.S.C. §

3161(h)(7)(A).

       16.       A proposed Order is attached for the Court=s consideration.




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       Wherefore, the government respectfully requests that this Court enter an Order pursuant to

18 U.S.C. § 3161(h) excluding from calculation under the Speedy Trial Act the period of time

from June 3, 2024 through December 2, 2024, inclusive.

                                                Respectfully submitted,

                                                Erek L. Barron
                                                United States Attorney

                                                __________/s/__________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Government’s motion was served via M/ECF

on counsel for the Defendants.


                                                  ________/s/_______________
                                                  Martin J. Clarke
                                                  Assistant United States Attorney




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